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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                        INITIAL APPEARANCE
UNITED STATES OF AMERICA,                      )             COURTROOM MINUTES - CRIMINAL
                                               )               BEFORE: JOHN F. DOCHERTY
                       Plaintiff,              )                   U.S. Magistrate Judge
                                               )
 v.                                            )    Case No:              23-mj-68 JFD
                                               )    Date:                 January 26, 2023
Vatthana Andy Sengsouriya,                     )    Courthouse:            St. Paul
                                               )    Courtroom:             6A
                       Defendant.              )    Time Commenced:       2:09 p.m.
                                               )    Time Concluded:       2:16 p.m.
                                               )    Time in Court:        7 minutes

APPEARANCES:

 Plaintiff: Esther Mignanelli, Assistant U.S. Attorney
 Defendant: Jean Brandl, Assistant Federal Public Defender
                       X FPD           X To be appointed

 Date Charges Filed: January 25, 2023               Offense: possession with the intent to distribute a mixture and
                                                    substance containing a detectable amount of cocaine; felon in
                                                    possession of a firearm

         X Advised of Rights

on      X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Monday, January 30, 2023 at 10:30 a.m. before U.S. Magistrate Judge David T. Schultz in
Mpls CR 9E for:
 X Detention hrg        X Preliminary hrg


Additional Information:
X Oral Rule5(f) Brady notice read on the record.
X Consular notice given
                                                                                         s/nah____________
                                                                                     Signature of Courtroom Deputy
